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10                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
11
      STATE OF WASHINGTON, et al.,                 NO. 1:23-cv-03026-TOR
12
                          Plaintiffs,              PLAINTIFF STATES’
13                                                 OPPOSITION TO MOTION
          v.                                       TO EXPEDITE
14
      UNITED STATES FOOD AND
15    DRUG ADMINISTRATION, et al.,

16                        Defendants.

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      PLAINTIFF STATES’ OPPOSITION                1           ATTORNEY GENERAL OF WASHINGTON
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1           The Plaintiff States oppose Defendants’ motion to expedite because

2     Defendants have not demonstrated good cause for expedited consideration of

3     their motion for clarification. See ECF No. 81. Local Civil Rule 7(i)(2)(C)

4     requires a party seeking to expedite consideration of a motion to demonstrate

5     good cause. See Jensen v. Biden, No. 4:21-cv-5119-TOR, 2021 WL 10280381,

6     at *1 (E.D. Wash. Oct. 19, 2021) (denying motion to expedite where Plaintiffs

7     “provide[d] no explanation” for why emergency consideration of preliminary

8     injunction motion was necessary); see also Yakima Valley Mem. Hosp. v. Wash.

9     State Dep’t of Health, No. 2:09-cv-03032-EFS, 2012 WL 12951705, at *1–2

10    (cautioning counsel that predecessor to LCR 7(i)(2)(C) should be limited to

11    “emergency matters” and that general statements that expedited consideration is

12    “necessary” would not be sufficient in the future). Defendants have not

13    demonstrated good cause here.

14          Defendants argue that good cause exists due to “tension” between this

15    Court’s preliminary injunction order and the currently-stayed Texas district court

16    order in Alliance for Hippocratic Medicine v. FDA staying the FDA’s approval

17    of mifepristone. FDA Mot. for Clarification, ECF No. 81 at 2; see Alliance for

18    Hippocratic Medicine v. FDA, No. 2:22-cv-00223-Z, (N.D. Tex. Apr. 7, 2023),

19    ECF No. 137. But Defendants have already filed an emergency motion in the

20    Fifth Circuit to continue the stay of the district court’s order in that case, and at

21    this point it is wholly speculative whether (and on what terms) that order will go

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1     into effect. See [FDA’s] Emergency Motion Under Circuit Rule 27.3 for a Stay

2     Pending Appeal, Alliance for Hippocratic Medicine v. FDA, No. 23-10362 (5th

3     Cir. Apr. 10, 2023), ECF No. 20. For this reason alone, FDA’s motion is

4     premature.

5           But even if the Texas order is permitted to go into effect, Defendants do

6     not demonstrate what warrants emergency relief here. Defendants’ motion does

7     not identify how this Court’s order is unclear in its mandate that FDA maintain

8     “the status quo and rights as it relates to the availability of Mifepristone” in the

9     Plaintiff States, nor do Defendants assert that FDA lacks authority to preserve

10    that status quo. ECF No. 80 at 30. This Court’s order was crystal clear. And given

11    how much remains to be determined in the Texas case, Defendants identify no

12    concrete need for an expedited order of this Court this week. Allowing Plaintiff

13    States a meaningful opportunity to respond will better serve the interests of this

14    Court, the parties, and the public, including by providing the Plaintiff States

15    sufficient time to meet and confer with Defendants to understand and potentially

16    resolve their concerns.

17          Simply put, Defendants’ motion gives the Court little to consider and

18    nothing to rule on. Defendants fail to demonstrate good cause for their motion to

19    expedite and the motion should be denied.

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1                              CERTIFICATE OF SERVICE

2           I hereby certify that on April 10, 2023, I electronically filed the foregoing

3     with the Clerk of the Court using the CM/ECF System, which in turn

4     automatically generated a Notice of Electronic Filing (NEF) to all parties in the

5     case who are registered users of the CM/ECF system. The NEF for the foregoing

6     specifically identifies recipients of electronic notice.

7           DATED this 10th day of April 2023, at Seattle, Washington.

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